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                                                                         2                       IN THE UNITED STATES DISTRICT COURT

                                                                         3                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         4
                                                                                                                                      No. CR 06-00051 CW
                                                                         5    UNITED STATES OF AMERICA,
                                                                                                                                      ORDER ADOPTING
                                                                         6                Plaintiff,                                  MAGISTRATE JUDGE'S
                                                                                                                                      REPORT AND
                                                                         7        v.                                                  RECOMMENDATION RE
                                                                                                                                      GUILTY PLEA
                                                                         8    KEVIN THOMPSON,
                                                                         9                Defendant.
                                                                                                                      /
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                                                                         11
United States District Court
                               For the Northern District of California




                                                                         12          The Court has reviewed Magistrate Judge Wayne D. Brazil's
                                                                         13   Report and Recommendation Re Entry of Plea of Guilty and adopts the
                                                                         14   Recommendation in every respect.        Accordingly,
                                                                         15          IT IS ORDERED that a plea of guilty is hereby entered as to
                                                                         16   Count One of the Indictment charging Defendant Kevin Thompson with
                                                                         17   Conspiracy to Violate the Lacey Act in violation of 18 U.S.C. §
                                                                         18   371.   Sentencing is set for January 8, 2007, at 2:30 p.m.                 The
                                                                         19   Defendant shall report to the U.S. Probation Office for preparation
                                                                         20   of a Presentence Report.
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                                                                         22   Dated: 9/25/06
                                                                         23                                                  CLAUDIA WILKEN
                                                                                                                             United States District Judge
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                                                                         26   cc: WDB; probation
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